                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION
                              FILE NO. 7:24-cv-00725-FL

ROBERT E. JERABEK,                                  )
                                                    )      DEFENDANTS SEAN T. DALE,
                       Plaintiff,                   )    EDWARD MCMAHON, JUSTIN P.
                                                    )       KRAFT, TYLER K. MARTIN,
       v.                                           )    TIMOTHY W. WILSON AND OHIO
                                                    )        CASUALTY INSURANCE
SEAN T. DALE; NEW HANOVER COUNTY;                   )             COMPANY’S
THE HONORABLE EDWARD J. MCMAHON                     )           JOINT ANSWER
in his capacity as NEW HANOVER COUNTY               )                AND
SHERIFF; JUSTIN P. KRAFT; TYLER K.                  )       AFFRIMATIVE DEFENSES
MARTIN; TIMOTHY W. WILSON; and THE                  )
OHIO CASUALTY INSURANCE COMPANY;                    )            (Fed. R. Civ. P. 8(b)-(c))
                                                    )
                       Defendants.                  )

       NOW COME Defendants Sean T. Dale (hereinafter “Officer Dale”), Edward McMahon

(hereinafter “Sheriff McMahon”), Justin P. Kraft (hereinafter “Officer Kraft”), Tyler K. Martin

(hereinafter “Officer Martin”), Timothy W. Wilson (hereinafter “Officer Wilson”) and Ohio

Casualty Insurance Company (hereinafter “Ohio               Casualty”)       (hereinafter   collectively

“Defendants”), by and through the undersigned counsel, pursuant to Rule 8 of the Federal Rules

of Civil Procedure, and hereby respond to the allegations contained in Plaintiff Robert E.

Jerabek’s (hereinafter “Plaintiff”) Complaint.

                               FIRST AFFIRMATIVE DEFENSE
                                     Qualified Immunity

       Defendants plead qualified immunity as an affirmative defense and as a complete and

total bar to the federal individual capacity claims asserted against them.




        Case 7:24-cv-00725-FL         Document 32        Filed 09/25/24         Page 1 of 15
                             SECOND AFFIRMATIVE DEFENSE
                                 Public Official Immunity

       Defendants plead public official immunity as an affirmative defense and as a complete

and total bar the state individual capacity claims asserted against them.

                              THIRD AFFIRMATIVE DEFENSE
                                  Governmental Immunity

       Defendants plead governmental immunity as an affirmative defense and as a complete

and total bar the state official capacity claims asserted against them.

                           FOURTH AFFIRMATIVE DEFENSE
              Failure to Exhaust Administrative Remedies - 42 U.S.C. § 1997(e)

       Defendants plead Plaintiff’s failure to exhaust administrative remedies as an affirmative

defense and as a complete and total bar to the claims asserted against them.

                               FIFTH AFFIRMATIVE DEFENSE
                                   Contributory Negligence

       Defendants plead Plaintiff’s contributory negligence as an affirmative defense and as a

complete and total bar to Plaintiff’s negligence-based causes of action.

                               SIXTH AFFIRMATIVE DEFENSE
                                    Reservation of Rights

       To the extent applicable and allowed by law, Defendants reserve their right to move for

leave to amend this answer to assert additional affirmative defenses as they become known or

available.




                                                  2

        Case 7:24-cv-00725-FL          Document 32        Filed 09/25/24       Page 2 of 15
                                             ANSWER

       The above-named Defendants respond to each the enumerated factual allegations

contained within the Complaint as follows:

       1.        Defendants are without sufficient independent knowledge to form a belief as to

the truth or falsity of the allegations contained in paragraph 1 of the Complaint and therefore

deny the same.

       2.        As to the allegations contained in paragraph 2 of the Complaint, it is admitted that

New Hanover County is a body politic within the State of North Carolina. The remaining

allegations contained within paragraph 2 of the Complaint are denied.

       3.        It is admitted that Sheriff MacMahon is a citizen and resident of New Hanover

County, is the employer of the individually named officers in this Action, and is the elected and

acting Sheriff of New Hanover County. The remaining allegations contained within paragraph 3

of the Complaint are denied.

       4.        It is admitted that Officer Kraft is employed by Sheriff MacMahon and is a citizen

and resident of New Hanover County. The remaining allegations contained within paragraph 4 of

the Complaint are denied.

       5.        It is admitted that Officer Dale is employed by Sheriff MacMahon and is a citizen

and resident of New Hanover County. The remaining allegations contained within paragraph 5 of

the Complaint are denied.

       6.        It is admitted that Officer Martin is employed by Sheriff MacMahon and is a

citizen and resident of New Hanover County. The remaining allegations contained within

paragraph 6 of the Complaint are denied.




                                                  3

       Case 7:24-cv-00725-FL            Document 32       Filed 09/25/24      Page 3 of 15
       7.        It is admitted that Officer Wilson is employed by Sheriff MacMahon and is a

citizen and resident of New Hanover County. The remaining allegations contained within

paragraph 7 of the Complaint are denied.

       8.        The allegations contained in paragraph 8 of the Complaint are admitted.

       9.        The allegations contained in paragraph 9 of the Complaint are editorial in nature,

and as such, no responsive pleading is required.

       10.       The allegations contained in paragraph 10 of the Complaint are editorial in nature,

and as such, no responsive pleading is required.

       11.       The allegations contained in paragraph 11 of the Complaint are editorial in nature,

and as such, no responsive pleading is required.

       12.       The allegations contained in paragraph 12 of the Complaint are editorial in nature,

and as such, no responsive pleading is required.

       13.       The allegations contained in paragraph 13 of the Complaint are admitted upon

information and belief.

       14.       Defendants are without sufficient independent knowledge to form a belief as to

the truth or falsity of the allegations contained in paragraph 14 of the Complaint and therefore

deny the same.

       15.       Defendants are without sufficient independent knowledge to form a belief as to

the truth or falsity of the allegations contained in paragraph 15 of the Complaint and therefore

deny the same.

       16.       Defendants are without sufficient independent knowledge to form a belief as to

the truth or falsity of the allegations contained in paragraph 16 of the Complaint and therefore

deny the same.



                                                   4

        Case 7:24-cv-00725-FL          Document 32        Filed 09/25/24     Page 4 of 15
       17.       Defendants are without sufficient independent knowledge to form a belief as to

the truth or falsity of the allegations contained in paragraph 17 of the Complaint and therefore

deny the same.

       18.       Defendants are without sufficient independent knowledge to form a belief as to

the truth or falsity of the allegations contained in paragraph 18 of the Complaint and therefore

deny the same.

       19.       The allegations contained in paragraph 19 of the Complaint are admitted.

       20.       The allegations contained in paragraph 20 are denied.

       21.       The allegations contained in paragraph 21 are denied.

       22.       As to the allegations contained in paragraph 22 of the Complaint, it is admitted

that Plaintiff was strip searched as part of the booking process. It is further admitted that during

the process, and throughout the entirety of his encounter with Defendants, Plaintiff presented in

an aggressive and hostile manner. It is further admitted that Plaintiff insulted the detention

officers throughout the booking process. Except as expressly herein admitted, the allegations

contained in paragraph 22 of the Complaint are denied.

       23.       The allegations contained in paragraph 23 of the Complaint are conclusory in

nature, and as such, no responsive pleading is required. To the extent that a responsive pleading

is required, the allegations contained in paragraph 23 of the Complaint are denied.

       24.       The allegations contained in paragraph 24 of the Complaint are admitted. It is

further admitted that detention officers handcuffed Plaintiff in response to Plaintiff stating you

“better not touch me or there will be a problem.” It is further admitted that while Officer Kraft

was escorting Plaintiff to his cell, Plaintiff began to slow down then push back against Officer




                                                 5

        Case 7:24-cv-00725-FL          Document 32       Filed 09/25/24      Page 5 of 15
Kraft. It is further admitted that Officer Kraft responded by instructing Plaintiff to walk. It is

further admitted that Plaintiff stated, “I’m walking but I’m not going to get pushed.”

       25.     The allegations contained in paragraph 25 of the Complaint are admitted, it is

admitted that Officer Dale grabbed Plaintiff’s right arm because Plaintiff, through his words and

actions, telegraphed an intent to physically resist the officers attempt to escort him to a housing

cell. It is further admitted that when Officer Dale grabbed Plaintiff’s right arm, Officer Dale

attempted to advise Plaintiff that if he continued to push back against the detention officers that

they would bring him to the ground.

       26.     As to the allegations contained in paragraph 26 of the Complaint, it is admitted

that Officer Dale grabbed Plaintiff’s right arm in response to Plaintiff continuing to telegraph an

intent to physically resist the officers’ attempts to escort him to a housing cell. It is further

admitted that as Officer Dale grabbed Plaintiff’s right arm and attempted to instruct Plaintiff not

to push back against the officers, Plaintiff leaned and pushed back against the officers which,

when combined with Plaintiff’s behavior up to that point, Officer Dale identified as an indicator

that Plaintiff was either going to assault the officers or drop to the floor. In an attempt to

neutralize an escalating situation, Officer Dale pushed Plaintiff against the wall and then took

him to the ground. The allegation that the detention officers’ actions were without lawful

justification is denied. Except as expressly herein admitted, the allegations contained in

paragraph 26 of the Complaint are denied.

       27.     The allegations contained in paragraph 27 of the Complaint are denied.

       28.     The allegations contained in paragraph 28 of the Complaint are admitted.

       29.     As to the allegations contained in paragraph 29 of the Complaint, it is admitted

that Plaintiff, while on the ground, continued to tense up and push back against the detention



                                                 6

        Case 7:24-cv-00725-FL         Document 32        Filed 09/25/24     Page 6 of 15
officers despite their repeated commands for him to stop. If is further admitted that Plaintiff

requested a “God [expletive] medical person” for his ankle. The allegation that Plaintiff lost

consciousness is denied. Expect as expressly herein admitted, the allegations contained in

paragraph 29 of the Complaint are denied.

       30.    As to the allegations contained in paragraph 30 of the Complaint, it is admitted

that while Plaintiff was on the ground, his arms were behind his back. The allegation that

Plaintiff pushing back against the detention officers was an involuntary response is denied.

Except as expressly herein admitted, the allegations contained in paragraph 30 of the Complaint

are denied.

       31.    As to the allegations contained in paragraph 31 of the Complaint, it is admitted

that Officer Kraft said, “stop pushing back against me.” Except as expressly herein admitted, the

allegations contained in paragraph 31 of the Complaint are denied.

       32.    As to the allegations contained in paragraph 32 of the Complaint, it is admitted

that Officer Dale warned Plaintiff that he would punch him in the face if he continued to grab at

the detention officers. Except as expressly herein admitted, the allegations contained in

paragraph 32 of the Complaint are denied.

       33.    The allegations contained in paragraph 33 of the Complaint are denied.

       34.    As to the allegations contained in paragraph 34 of the Complaint, it is admitted

while advising Plaintiff to quit pushing back against them, detention officers requested a

wheelchair in an attempt to mitigate Plaintiff’s continued resistance their continued attempts at

transferring him to his housing cell. Except as expressly herein admitted, the allegations

contained in paragraph 34 of the Complaint are denied.




                                               7

        Case 7:24-cv-00725-FL        Document 32         Filed 09/25/24   Page 7 of 15
          35.   As to the allegations contained in paragraph 35, it is admitted that once the

wheelchair arrived, the detention officers assisted Plaintiff off the floor and into a standing

position. It is further admitted that once the wheelchair was positioned underneath Plaintiff,

Officer Dale instructed Plaintiff to “sit down” twice but Plaintiff did not comply. It is further

admitted that upon Plaintiff’s refusal to comply with Officer Dale’s order, Officer Dale pushed

him into the wheelchair in order to gain compliance. The allegation that the detention officers’

actions were without lawful justification is denied. Except as expressly herein admitted, the

allegations contained in paragraph 35 of the Complaint are denied.

          36.   The allegations contained in paragraph 36 of the Complaint are denied.

          37.   The allegations contained in paragraph 37 of the Complaint are admitted.

          38.   As to the allegations contained in paragraph 38 of the Complaint, it is admitted

that when they arrived at the housing cell, Officers Kraft and Dale assisted Plaintiff out of the

wheelchair, escorted him into the cell, and pushed him onto the matt on the cell floor. The

allegation that the detention officers’ actions were without lawful justification is denied. Except

as expressly herein admitted, the allegations contained in paragraph 38 of the Complaint are

denied.

          39.   As to the allegations contained in paragraph 39 of the Complaint, it is admitted

that a detention office advised Plaintiff not to push against him. It is further admitted that while

Plaintiff was on the matt, detention officers removed his handcuffs and exited the cell. The

allegation that Plaintiff was knocked unconscious is denied. Except as expressly herein admitted,

the allegations contained in paragraph 39 of the Complaint are denied.

          40.   As to the allegations contained in paragraph 40, it is admitted that medical

personnel provided by Wellpath attempted to evaluate Plaintiff for complaints of injury to his



                                                 8

          Case 7:24-cv-00725-FL       Document 32        Filed 09/25/24      Page 8 of 15
shoulder following his encounter with the detention officers. It is further admitted that Plaintiff

refused medical treatment. Except as expressly herein admitted, the allegations contained in

paragraph 40 of the Complaint are denied.

          41.   The allegations contained in paragraph 41 of the Complaint are denied.

          42.   As to the allegations contained in paragraph 42 of the Complaint, it is admitted

that Plaintiff was released from custody on October 13, 2021. It is further admitted that Plaintiff

refused medical personnel’s attempts to exam and evaluate Plaintiff’s complaints of right

shoulder pain inhibited their ability to provide further recommendations, if any. Except as

expressly herein admitted, the allegations contained in paragraph 42 of the Complaint are denied.

          43.   The allegations contained in paragraph 43 of the Complaint are denied.

          44.   The allegations contained in paragraph 44 of the Complaint are admitted.

          45.   As to the allegations contained in paragraph 45 of the Complaint, it is admitted

that New Hanover County has purchased an insurance policy which names the New Hanover

County Sheriff’s Office as an additional insured. The allegation that the purchase of said

insurance has resulted in a waiver of immunity is denied. Except as expressly herein admitted,

the allegations contained in paragraph 45 of the Complaint are denied.

          46.   As to the allegations contained in paragraph 46 of the Complaint, it is admitted

that Sheriff McMahon has waived governmental immunity up to the value of the Bond. Except

as expressly herein admitted, the allegations contained in paragraph 46 of the Complaint are

denied.

          47.   As to the allegations contained in paragraph 47 of the Complaint, it is admitted

that the New Hanover County Sheriff’s Office is listed as an additional insured on a policy




                                                9

          Case 7:24-cv-00725-FL       Document 32       Filed 09/25/24      Page 9 of 15
purchased by New Hanover County. Except as expressly herein admitted, the allegations

contained in paragraph 47 of the Complaint are denied.

       48.     The allegations contained in paragraph 48 of the Complaint are denied.

       49.     The allegations contained in paragraph 49 of the Complaint purport to state a

legal conclusion, and as such, no responsive pleading is necessary.

       50.     Defendants hereby restate their responses to the allegations contained in

paragraphs 1 through 49 of the Complaint and incorporate them as if fully set forth herein.

       51.     The allegations contained in paragraph 51 of the Complaint are denied.

       52.     The allegations contained in paragraph 52 of the Complaint are denied.

       53.     The allegations contained in paragraph 53 of the Complaint are denied.

       54.     The allegations contained in paragraph 54 of the Complaint are denied.

       55.     The allegations contained in paragraph 55 of the Complaint are denied.

       56.     The allegations contained in paragraph 56 of the Complaint are denied.

       57.     Defendants hereby restate their responses to the allegations contained in

paragraphs 1 through 56 of the Complaint and incorporate them as if fully set forth herein.

       58.     The allegations contained in paragraph 58 of the Complaint are denied.

       59.     The allegations contained in paragraph 59 of the Complaint are denied.

       60.     The allegations contained in paragraph 60 of the Complaint are denied.

       61.     The allegations contained in paragraph 61 of the Complaint are denied.

       62.     The allegations contained in paragraph 62 of the Complaint are denied.

       63.     The allegations contained in paragraph 63 of the Complaint are denied.

       64.     Defendants hereby restate their responses to the allegations contained in

paragraphs 1 through 63 of the Complaint and incorporate them as if fully set forth herein.



                                               10

       Case 7:24-cv-00725-FL         Document 32         Filed 09/25/24    Page 10 of 15
       65.     The allegations contained in paragraph 65 of the Complaint are denied.

       66.     The allegations contained in paragraph 66 of the Complaint refer to a written

document the contents of which speak for themselves, and as such, no responsive pleading is

required.

       67.     The allegations contained in paragraph 67 of the Complaint are admitted.

       68.     The allegations contained in paragraph 68 of the Complaint are denied.

       69.     The allegations contained in paragraph 69 of the Complaint refer to a written

document the contents of which speak for themselves, and as such, no responsive pleading is

required.

       70.     The allegations contained in paragraph 70 of the Complaint are denied.

       71.     The allegations contained in paragraph 71 of the Complaint are admitted.

       72.     The allegations contained in paragraph 72 of the Complaint are denied.

       73.     The allegations contained in paragraph 73 of the Complaint are denied.

       74.     The allegations contained in paragraph 74 of the Complaint are denied.

       75.     The allegations contained in paragraph 75 of the Complaint are denied.

       76.     The allegations contained in paragraph 76 of the Complaint are denied.

       77.     The allegations contained in paragraph 77 of the Complaint are denied.

       78.     The allegations contained in paragraph 78 of the Complaint are denied.

       79.     The allegations contained in paragraph 79 of the Complaint are denied.

       80.     Defendants hereby restate their responses to the allegations contained in

paragraphs 1 through 79 of the Complaint and incorporate them as if fully set forth herein.

       81.     The allegations contained in paragraph 81 of the Complaint are denied.

       82.     The allegations contained in paragraph 82 of the Complaint are denied.



                                               11

       Case 7:24-cv-00725-FL         Document 32       Filed 09/25/24      Page 11 of 15
       83.     The allegations contained in paragraph 83 of the Complaint are denied.

       84.     The allegations contained in paragraph 84 of the Complaint are denied.

       85.     The allegations contained in paragraph 85 of the Complaint are denied.

       86.     The allegations contained in paragraph 86 of the Complaint are denied.

       87.     The allegations contained in paragraph 87 of the Complaint are denied.

       88.     The allegations contained in paragraph 88 of the Complaint are denied.

       89.     The allegations contained in paragraph 89 of the Complaint are denied.

       90.     Defendants hereby restate their responses to the allegations contained in

paragraphs 1 through 89 of the Complaint and incorporate them as if fully set forth herein.

       91.     The allegations contained in paragraph 91 of the Complaint are denied.

       92.     The allegations contained in paragraph 92 of the Complaint are denied.

       93.     The allegations contained in paragraph 93 of the Complaint are denied.

       94.     The allegations contained in paragraph 94 of the Complaint are denied.

       95.     The allegations contained in paragraph 95 of the Complaint are denied.

       96.     The allegations contained in paragraph 96 of the Complaint are denied.

       97.     The allegations contained in paragraph 97 of the Complaint are denied.

       98.     Defendants hereby restate their responses to the allegations contained in

paragraphs 1 through 97 of the Complaint and incorporate them as if fully set forth herein.

       99.     The allegations contained in paragraph 99 of the Complaint are denied.

       100.    The allegations contained in paragraph 100 of the Complaint are denied.

       101.    The allegations contained in paragraph 101 of the Complaint are denied.

       102.    Defendants hereby restate their responses to the allegations contained in

paragraphs 1 through 101 of the Complaint and incorporate them as if fully set forth herein.



                                               12

       Case 7:24-cv-00725-FL         Document 32       Filed 09/25/24      Page 12 of 15
       103.    The allegations contained in paragraph 103 of the Complaint purport to state a

legal conclusion, and as such, no responsive pleading is required.

       104.    The allegations contained in paragraph 104 of the Complaint are denied.

       105.    The allegations contained in paragraph 105 of the Complaint are denied.

       106.    The allegations contained in paragraph 106 of the Complaint are denied.

       107.    The allegations contained in paragraph 107 of the Complaint are denied.

       108.    Defendants hereby restate their responses to the allegations contained in

paragraphs 1 through 108 of the Complaint and incorporate them as if fully set forth herein.

       109.    The allegations contained in paragraph 109 of the Complaint purport to state a

legal conclusion, and as such, no responsive pleading is required.

       110.    The allegations contained in paragraph 110 of the Complaint are denied.

       111.    The allegations contained in paragraph 111 of the Complaint are denied.

       112.    The allegations contained in paragraph 112 of the Complaint are denied.

       113.    Defendants hereby restate their responses to the allegations contained in

paragraphs 1 through 112 of the Complaint and incorporate them as if fully set forth herein.

       114.    The allegations contained in paragraph 114 of the Complaint purport to state a

legal conclusion, and as such, no responsive pleading is required.

       115.    The allegations contained in paragraph 115 of the Complaint are denied.

       116.    The allegations contained in paragraph 116 of the Complaint are denied.

       117.    The allegations contained in paragraph 117 of the Complaint are denied.

       118.    The allegations contained in paragraph 118 of the Complaint are denied.

       119.    All allegations contained within the Complaint the not expressly herein admitted

are denied.



                                                13

       Case 7:24-cv-00725-FL         Document 32       Filed 09/25/24      Page 13 of 15
                                      PRAYER FOR RELIEF

        WHEREFORE, Defendants respectfully pray that the Court grant the following relief:

        1.      That Plaintiff have and recover nothing from Defendants;

        2.      That Plaintiff's claims be dismissed, with prejudice, and that the costs be assessed

against Plaintiff;

        3.      For a trial by jury on all issues so triable;

        4.      For attorney's fees to the degree permitted by law; and

        5.      For such and other and further relief as the Court deems just and proper.



        Respectfully submitted, this the 25th day of September, 2024.

                                                         SUMRELL SUGG, P.A.
                                                         Attorneys for Defendants

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                                                   14

       Case 7:24-cv-00725-FL            Document 32         Filed 09/25/24    Page 14 of 15
                                CERTIFICATE OF SERVICE
       The undersigned certifies that a copy of the foregoing DEFENDANTS SEAN T. DALE,
EDWARD MCMAHON, JUSTIN P. KRAFT, TYLER K. MARTIN, TIMOTHY W.
WILSON AND OHIO CASUALTY INSURANCE COMPANY’S JOINT ANSWER AND
AFFRIMATIVE DEFENSES was served upon all parties to this action by depositing the same in
a postpaid wrapper in an official depository under the exclusive care and custody of the United
States Postal Service, New Bern, North Carolina, and addressed to:
                                     John L. Tidball, Esq.
                                     SPEAKS LAW FIRM, PC
                                     902 Market Street
                                     Wilmington, North Carolina 28401
                                     Telephone: (910) 341-7570
                                     E-Mail: jtidball@speakslaw.com
                                     Attorney for Plaintiff

       This the 25th day of September, 2024.

                                                     SUMRELL SUGG, P.A.
                                                     Attorneys for Defendants

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                                                15

       Case 7:24-cv-00725-FL         Document 32        Filed 09/25/24    Page 15 of 15
